         CASE 0:20-mj-00365-HB Document 34 Filed 07/02/20 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                          Case No. 20-mj-365(2) (HB)

UNITED STATES OF AMERICA,

                           Plaintiff,
                                               ORDER
              V.

BAILEY MARIE BALDUS,

                           Defendant.

      This matter is before the Court on the government's unopposed motion,

pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, requesting

dismissal of the pending criminal charge, namely, the Criminal Complaint (Dkt. 7)

against defendant Bailey Baldus.

      WHEREFORE IT IS ORDERED,

      That good cause has been shown, and the Court will grant the government's

unopposed motion for dismissal, without prejudice, in the interests of justice .


                                             .ib   aJ. Jt � o •
                                              The Honora le Hildy Bowbeer
                                               United States Magistrate Judge
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